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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF TEXAS

                                     BEAUMONT DIVISION


UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §           NO. 1:10-CR-22
                                                   §
BRANDY GATLIN                                      §


       ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

       In accordance with the court’s referral order, and with consent of the parties, United States

Magistrate Judge Earl S. Hines conducted a proceeding in the form and manner prescribed by Fed.

R. Crim. P. 11; accepted defendant’s plea of guilty to Count I of the Indictment in this case; and filed

written Findings of Fact and Recommendations on Guilty Plea. The magistrate judge recommends

that (a) defendant be adjudged guilty of the offense to which he has pleaded guilty, and (b) the court

defer its decision to accept or reject the plea agreement until it reviews the pre-sentence report.

       The parties do not object to the magistrate’s findings, and the Court is of the opinion that

the Findings of Fact and Recommendation on Guilty Plea should be accepted. It is, therefore,

       ORDERED that the Findings of Fact and Recommendations on Guilty Plea of the United

States Magistrate Judge is ADOPTED, and defendant, Brandy Gatlin, is hereby ADJUDGED

GUILTY on Count IV of the charging Indictment, charging violations of Title 18, United States

Code, Section 1791(a)(1). The court will defer its decision to accept or reject the plea agreement

until the court reviews the pre-sentence report.

           So ORDERED and SIGNED this 18 day of May, 2010.




                                                           ___________________________________
                                                           Ron Clark, United States District Judge
